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 UM TED STATES DISTRICT COURT
 SOUTH ERN DISTRICT OF FLORIDA

 CA SE NO.:0:24-cv-61395-M D
                                                                FILED BY        C-,' Dc. .


 A FFO R DA BLE A ERIA L PH O TO G M PH Y ,IN C .,
 Plaintiff,                                                        ZgT 15 2029
                                                                    ANGEI.A E. NOBLE
                                                                   cLERK U ,S. Dls'
                                                                                  tc'E
 V.                                                                s.D.OF FLA. - M/AMI


 BITTENCOURT PROPERTY LLC d/b/a FLORIDA LUXURY CO NCIERGE
 SERW CES,
 Defendant.

                                          /

 DEFEO ANT'S M OTION TO REOPEN AND RECON SIDER DEFAULT

 COM ES NOW ,theDefendant,BittencourtProperty LLC d/b/aFlorida Luxury Concierge
 Servicest''Defendant''l,byandthroughthetmdersignedcounsel,andrespectfullymovesthis
 Honorable Courtto reopen and reconsiderthe defaultentered in theabove-captioned m atter,and
 in supportthereofstatesasfollows:

         Background
         On October3rd20245 adefaultwasentered againstthe Defendantin thisaction sled by
         thePlaintiff,AffordableAerialPhotography,Inc.TheDefendantacknowledgesthe
         currentstandingofthecasebutretùesiqtheCourttoreopenandreconsiderthedefault
         forthereasonssetforthbelow.       '
         Claim Filed w ith Defendant'sInsufanceCom pany
         TheDefendanthasbeen diligently workingto resolvetMsmatter.A claim wasGled
         tmderDefendant'sinsurancepolicywithChubbNarthAmericaClaims(''chubbff),
         identifedbyClaim NumberKY24K2939266,underPolicyNumberF162753323.The
         Defendanthmsmadeagoodfaith effprttoaddressthePlaintlffsclaimsthrough its
         instlranceprovider,asthe attached elailcorrespondencefrom Chubb reflects.
      3. O ngoing Settlem entD iscussions
         Accordingtothelatestcommllnication9om Chubb (attachedheretoasExhibitA),
         Chubbhasalreadyinitiatedcontactwi$ thePlaintifftonegotiateasettlementagreement
         thatwould satisfythejudgmententeredagainsttlieDefendant.Assuch,theDefendant
         hasnotignored thelegalproceedingsbuthasbeen actively seeldngresolution through
         properchnnnels.                               :'
                                                        .
                                                            .


      4. BasisforReopeningandReconsideration
         TheDefendant'sfailmetorespondtotheCourtwithinthespecifiedtimefmmewasnot
         duetoneglectordisregardforthejudicialprocess.Ratier,theDefendantreliedonits
         insurancecom pmm Chubb,to handleandresolvethem atteron itsbehalf.Defendant
         requeststhatthisHonorableCourtreopenthecasetoJllow forcontinuedsettlement
         dijcussionsandpreventl'nnecessaryenforcementofLefalzlt.

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        R equestfor R elief
        TheDefendantrespectfullyrequeststhatthisCourt:a.Reogenthecaseandreconsiderthe
        defaultjudgmententeredagainsttheDefendant;b.Allow tlmefortheongoingsettlement
        negotiationsbetween thePlaintiffand Chubb to reach aresolution;c.Grantany other
        reliefthatthisHonorableCourtdeemsjustandproper.
 W HEREFORE, the Defendant, Bittencourt Property LLC d/b/a Florida Luxury Concierge
 Services,respectfullyrequeststhatthisHonorableCourtreopenandreconsiderthedefaultentered
 in thism atter,allom ng forcontinued settlem entnegotiationswith thePlaintiff.

 Dated:10/10/2024

 Respectfully subm itted,



 STA TEM EN T

 STATE OF FLORIDA
 COITNTY O F BROW ARD

 BEFORE M E,the undersigned authority,personallyappeared CART,OS G ONCALVES,who
 afterbeing duly sworn,deposesand states:                         '

       ThatIam theM ANAGER ofBittencourtProperty LLC d/b/aFlorida Luxury Concierge
       Services,theDefendantintllismatter.
       ThatIhavereviewedthefactssetforth in thisM otion to Reopen and ReconsiderDefault,
       andthestatementscontained herein aretrueand correctto thebestofm y knowledgeand
       belief
    3. Thatthisswom statem entisexecuted in supportoftheM otion to Reopen and Reconsider
        DefaultandismadelmderpenaltyofperjuryunderthelawsoftheStateofFlorida.
 FURTHER A FFIA N T SA YETH N A U GH T.




  ARL S GONCALVES

 EM ANAGER)



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 sworn to and subscribed beforem eby c Alzl,os GoxcM zvEs,who ispersonally known to
 m eorwho h produced FLORD A DL
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